
USCA1 Opinion

	










          December 22, 1995
                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


        No. 95-1463

                               KATHY ST. HILAIRE, ETC.

                                Plaintiff, Appellant,

                                          v.

                               CITY OF LACONIA, ET AL.

                                Defendants, Appellees.

                                 ____________________

                                     ERRATA SHEET
                                     ERRATA SHEET

            The opinion of this Court  issued on December 1,  1995, is amended
        as follows:

            On  page  22,  the  first  paragraph  should  be  deleted  and the
        following paragraph inserted in its place:

            Summary judgment  in  favor of  the  municipalities,  the City  of
        Laconia, the Town  of Belmont and the  County of Belknap,  is affirmed
        because there is no  evidence, even had plaintiff shown  a deprivation
        of St. Hilaire's  constitutional rights, that  it was  as a result  of
        official  action  taken  pursuant  to  a  "custom  or  usage"  of  the
        municipality.  See Monell v. New York City Dep't. of Social Servs. 436
                       ___ ______    _____________________________________
        U.S. 658,  691 (1978).  Other  than this single incident,  there is no
        evidence even proffered to  show such a municipal "custom  and usage."
        Evidence of a single  incident is usually insufficient to  establish a
        "custom or usage."  Mahan v. Plymouth County  House of Corrections, 64
                            _____    _____________________________________
        F.3d 14, 16-17 (1st Cir. 1995).






























                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


        No. 95-1463

                               KATHY ST. HILAIRE, ETC.

                                Plaintiff, Appellant,

                                          v.

                               CITY OF LACONIA, ET AL.

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE 

                    [Hon. Paul J. Barbadoro, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                 Lynch, Circuit Judge,
                                        _____________

                     Aldrich and Campbell, Senior Circuit Judges.
                                           _____________________

                                 ____________________

            David H.  Bownes,  with whom  A.  G.  O'Neil, Jr.  and  Normandin,
            ________________              ___________________       __________
        Cheney &amp; O'Neil were on brief, for appellant.
        _______________
            Wayne C. Beyer, with whom  Wayne C. Beyer and Associates, P.C. was
            ______________             ___________________________________
        on  brief, for  appellees City of  Laconia, Town of  Belmont, David A.
        Gunter, David Nielsen, and Brian Loanes.
            Donald  J.  Perrault,  with  whom  Christine  Desmarais-Gordon and
            ____________________               ___________________________
        Wadleigh,  Starr, Peters, Dunn &amp;  Chiesa were on  brief, for appellees
        ________________________________________
        County of Belknap, Robert Dupuis, Jr., and Daniel Collis.

                                 ____________________

                                   December 1, 1995
                                 ____________________




















                      LYNCH, Circuit Judge.   A tragic sequence of events
                      LYNCH, Circuit Judge.
                             _____________

            leaving Philip  St. Hilaire  dead from wounds  from a  police

            bullet  and  leaving  law  enforcement  officers  and   their

            municipal employers sued by his widow brings this case before

            us.  The district court  entered summary judgment against the

            widow's  action under  42  U.S.C.    1983,  finding that  the

            officers  were protected  by  qualified immunity.   Mrs.  St.

            Hilaire  appeals,  saying  there  are   genuine  disputes  of

            material  fact  and  that  the  officers   abrogated  clearly

            established constitutional rights.   We hold that while there

            are  disputes of fact, those  disputes are not  material.  We

            affirm  because the  defendants  are  entitled  to  qualified

            immunity in that they did not violate any constitutional  law

            that  was clearly established at the time of the shooting and

            they could reasonably have  believed their search warrant was

            supported by probable cause.

                                        FACTS

                      Armed  with some evidence (the sufficiency of which

            plaintiff challenges),  Deputy Robert  Dupuis of the  Belknap

            County Sheriff's Office applied for a search warrant from the

            local  district court to search both the person of Philip St.

            Hilaire  and his  place of  business, Laconia  Auto Wrecking.

            Based  on  information  from  a  confidential informant,  the

            police believed  St. Hilaire  was selling cocaine  at Laconia

            Auto Wrecking and  that he had just travelled to  New York to



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                                          2















            "score" a load of cocaine.  The warrant issued and the police

            planned their operation to execute the search warrant.

                      It  was  a  joint  operation  between  the  Belknap

            Sheriff's Office, the Belknap  Police and the Laconia Police.

            The participants -- defendants  Deputy Dupuis, Deputy  Daniel

            Collis, Sgt. David Nielsen,  Sgt. Brian Loanes, and Detective

            David Gunter --  met in the early evening  of April 27, 1990.

            The police  believed  St. Hilaire  to be  armed and  possibly

            dangerous.  They knew that St. Hilaire carried a .357 caliber

            revolver or a .25 caliber semi-automatic pistol, or both, and

            that he had a shotgun  and a crossbow on the premises.   They

            also  had  information  that  St. Hilaire  had,  a  few  days

            earlier, pointed  a gun  at  the head  of  a person  who  had

            stooped  to pick  up St.  Hilaire's dropped  money bag.   The

            police had  also received complaints some  time earlier about

            the sounds of shooting from the auto yard.

                      The  police  were  concerned  about  the reflective

            glass  on the front of  Laconia Auto Wrecking,  which made it

            difficult  for people outside to  see in but  easy for people

            inside to see  out.  They felt  it would be  a danger to  the

            police to approach the front of the building abruptly.

                      They  decided  that  Deputy  Dupuis  and  Sergeants

            Nielsen   and  Loanes  would   execute  the  search  warrant.

            Detective Gunter,  stationed across  the street to  help with

            surveillance,  would then  come in  with his  drug  dog, Lux.



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                                          3















            Deputy Sheriff  Collis was also stationed  across the street,

            monitoring the auto yard, in radio communication with Dupuis.

            Sergeant Nielsen was in uniform; the remaining four defendant

            officers  were in plain clothes.   The search  team waited at

            the rear of the  building.  Patrolmen in two  marked cruisers

            were stationed on the road on either side of the business.  

                       The  plan was as follows.   The team,  led by Sgt.

            Nielsen would enter the building and then  search St. Hilaire

            and the building.   If the building was closed,  the officers

            would  find a way to  enter or would  wait for St. Hilaire to

            emerge  and then reach him outside.  They planned to identify

            themselves  as  law  enforcement  officers  and  state  their

            purpose.   Sergeant  Nielsen was  to lead  because he  was in

            uniform  and St. Hilaire knew him from prior encounters.  The

            officers thought  this would be  the safest  way to  proceed.

            Detective  Gunter testified  that, in  execution of  a search

            warrant,  the  best  policy  is  to  make  sure  the  subject

            understands that he is dealing with a police officer.  

                      Things  did  not  go  according  to  plan.    After

            watching  someone else unsuccessfully trying to get in to the

            building,  Collis concluded  that the  front door  was likely

            locked  and radioed  so to  Dupuis.   Dupuis decided  on more

            manpower and  called Detective Gunter  over to join  the team

            waiting behind  the building.   Collis then  saw St.  Hilaire

            leave the building with his dog, lock up, and walk toward his



                                         -4-
                                          4















            car in the parking  lot.  Collis radioed this  information to

            Dupuis.  

                      The   team,   waiting   behind  the   auto-wrecking

            building, decided  to move  in.   Detective  Gunter, who  was

            closest  to the  parking  lot, ran  in  front, ahead  of  the

            others.   The police rounded  the corner of  the building and

            travelled the  roughly 125  feet to the  car in  a period  of

            seconds, hoping to reach  St. Hilaire before he got  into his

            car.  It was not to be.  St.  Hilaire had already put his dog

            in  the back seat, gotten  into the driver's  seat of his car

            and  turned on the engine.  Detective Gunter, who was dressed

            in jeans and a t-shirt, ran up to the car.

                      St. Hilaire, at  that moment, looked  up and saw  a

            stranger dressed  in jeans and  a t-shirt, approach  his open

            car passenger window, pointing  a .357 magnum revolver toward

            him.   St. Hilaire's eyes  widened.  St.  Hilaire reached for

            his  own  gun,  or  so  it  appeared   to  Detective  Gunter.

            Detective Gunter fired a  bullet, hitting St. Hilaire in  the

            neck.     The  bullet  lodged  in   St.  Hilaire's  vertebra,

            paralyzing him from the neck down.  

                      Sergeant Nielsen, in uniform, reached the car next.

            He saw  that St. Hilaire's right hand was on  top of a gun on

            the car seat.  Sergeant Nielsen told St. Hilaire to let go of

            the gun.   St.  Hilaire replied  that he could  not, that  he

            could not move.  The police removed the gun.  



                                         -5-
                                          5















                      St. Hilaire  said to  Sgt. Nielsen, "I  didn't know

            you guys were the cops.  Why didn't he identify himself?  Why

            didn't  he  say he  was  a  cop?"    Later, at  the  hospital

            emergency room,  St. Hilaire  repeatedly told his  nurse, "He

            didn't  identify  himself."     St.  Hilaire  made  the  same

            statements to his wife.

                      The police testified, at  deposition, that they did

            identify themselves.  Detective Gunter testified that when he

            was  halfway to the car  he yelled, "Phil,  police, Phil" and

            then, at the side of the  car, he yelled "Hold it."   He also

            testified,  "I'm   sure  I  yelled  'police,'   but  I  don't

            remember."   Sergeant  Nielsen said  that he  heard Detective

            Gunter  say, "Hold  it Phil,  police.   Hold it,  police," as

            Detective Gunter  was about  a foot  away from  the passenger

            side of  the car.    Deputy Dupuis  said he  was just  behind

            Detective  Gunter  and  heard  Detective  Gunter yell  "Phil,

            police."  Deputy Dupuis  said he also yelled, "Police"  as he

            rounded  the building, some 58  feet from the  car.  Sergeant

            Loanes  said he  heard  someone say  something like  "Police,

            freeze."  Two  other officers, who had been  stationed across

            the  street, heard  someone  yell, "Police."    One of  them,

            Collis,  heard "Police" within two seconds of the gunshot.  A

            passing motorist heard "Freeze," just before seeing the flash

            of a gun.  Detective Gunter also said he had his police badge

            held  in his  extended left  hand as  he approached  the car.



                                         -6-
                                          6















            Dupuis  saw  the  badge   in  Detective  Gunter's  left  hand

            immediately after the shooting.

                      Some currency and a bag containing three-fourths of

            an ounce of cocaine, worth about $2,200, were recovered  from

            St. Hilaire's jacket.   St. Hilaire died in October 1991 as a

            result  of complications  from  his injuries.   He  was forty

            years old.

                                     LEGAL CLAIMS

                      Kathy St. Hilaire brought suit individually  and as

            executrix of the estate under 42 U.S.C.   1983 asserting that

            defendants  had  violated the  Fourth  Amendment.   She  also

            brought pendent state law claims for negligence and negligent

            and   intentional   infliction    of   emotional    distress.

            Plaintiff's Fourth  Amendment theories  were that  the search

            warrant  was obtained  without  probable cause  and that  the

            defendants "used  unreasonable  force in  executing a  search

            warrant upon  her  husband in  that they  failed to  identify

            themselves as  police officers and then shot her husband when

            he failed to yield."

                      The  district court entered  summary judgment based

            on qualified  immunity.  That  decision is reviewed  de novo.
                                                                 _______

            Hegarty v.  Somerset County,  53  F.3d 1367,  1372 (1st  Cir.
            _______     _______________

            1995)(citing Jirau-Bernal v.  Agrait, 37 F.3d 1,  3 (1st Cir.
                         ____________     ______

            1994)), petition  for cert. filed  (U.S. Oct. 17,  1995) (No.
                    ________  ___ _____ _____





                                         -7-
                                          7















            95-629).   All facts are reviewed in the light most favorable

            to the party opposing summary judgment.  Id.
                                                     ___

                      The ultimate question  of qualified immunity should

            ordinarily be decided by  the court.1  Hunter v.  Bryant, 502
                                                   ______     ______

            U.S.  224, 228  (1991).   In determining  whether there  is a

            qualified immunity defense "the  court should ask whether the

            agents   acted   reasonably   under  settled   law   in   the

            circumstances."  Id.  This court has identified two prongs to
                             ___


                                
            ____________________

            1.  While  this court  has not  had the  occasion to  explore
            fully  the allocation  of  functions between  judge and  jury
            where facts relevant to the immunity defense are  in dispute,
            we have said that  "we doubt the Supreme Court  intended this
            dispute to be resolved  from the bench by  fiat."  Prokey  v.
                                                               ______
            Watkins,  942  F.2d 67,  72 (1st  Cir.  1991).   The ultimate
            _______
            question of whether a reasonable police officer, on the basis
            of information known to him, could have believed his  actions
            were in accord with  constitutional rights is "a question  of
            law, subject to resolution by the  judge not the jury."   Id.
                                                                      __
            at 73.   But  if there  is a  factual dispute,  "that factual
            dispute must be resolved by a fact finder."  Id.  The precise
                                                         __
            question of  whether the  judge may intercede  and play  that
            fact  finder role appears not to have been clearly decided by
            the Supreme Court.   Some courts, consonant  with the Seventh
            Amendment, have  preserved the  fact finding function  of the
            jury through special  interrogatories to the  jury as to  the
            disputes of  fact, reserving the ultimate law question to the
            judge.   See King v. Macri, 993 F.2d 294, 299 (2d Cir. 1993);
                     ___ ____    _____
            Warren v. Dwyer, 906 F.2d 70, 76 (2d Cir.), cert. denied, 498
            ______    _____                             _____ ______
            U.S. 967 (1990); Lubcke v. Boise City/Ada Cty. Housing Auth.,
                             ______    _________________________________
            124 Idaho 450,  860 P.2d 653, 667 (1993);   see also Oliveira
                                                        ________ ________
            v.  Mayer, 23  F.3d 642,  649 (2d  Cir. 1994)  (when material
                _____
            facts were disputed, issue of  qualified immunity was for the
            jury),  cert.  denied,  115  S.  Ct.  721 (1995);  Karnes  v.
                    _____  ______                              ______
            Skrutski, 62  F.3d 485, 491 (3d Cir.  1995)(same); Presley v.
            ________                                           _______
            City  of Benbrook, 4 F.3d 405, 410  (5th Cir. 1993) (if there
            _________________
            remain  disputed issues  of  material  fact,  jury,  properly
            instructed,   may  decide   issue  of   qualified  immunity);
            Brandenburg v.  Cureton, 882 F.2d  211, 216  (6th Cir.  1989)
            ___________     _______
            (jury  is  final arbiter  of  qualified  immunity when  issue
            depends upon which version of the facts the jury finds).

                                         -8-
                                          8















            the basic qualified immunity  analysis.  Hegarty, 53  F.3d at
                                                     _______

            1373  (quoting Burns v.  Loranger, 907 F.2d  233, 235-36 (1st
                           _____     ________

            Cir. 1990)).   First,  the court  must establish  whether the

            constitutional right asserted  by the plaintiff  was "clearly

            established"  at the  time  of the  alleged  violation.   Id.
                                                                      ___

            Second,  the court  must ask  whether "a  reasonable official

            situated  in the  same circumstances  should have  understood

            that the challenged conduct violated that established right."

            Id. (quoting Burns, 907 F.2d at 236).
            ___          _____

                      Whether   the   rights    alleged   are    "clearly

            established" is  a question of law  for the court.   Elder v.
                                                                 _____

            Holloway,  114 S.  Ct. 1019,  1023 (1994).   For  purposes of
            ________

            determining  qualified  immunity, the  officer's  actions are

            measured by a standard of "objective legal reasonableness . .

            . in light of  the legal rules that were  clearly established

            at  the time [they] were taken."2  Anderson v. Creighton, 483
                                               ________    _________

            U.S. 635, 639 (1987) (internal quotation omitted).  

                      The  Supreme  Court, recognizing  that  the use  of

            summary  judgment   in  qualified  immunity  cases  could  be

            undermined,  has held that  a very broad  articulation of the

                                
            ____________________

            2.  This court has noted that,  at least in police misconduct
            cases, the objective reasonableness standard for liability is
            most  likely  the  same  as  that  for  a  qualified immunity
            defense.  Roy v. Inhabitants of the City of Lewiston, 42 F.3d
                      ___    ___________________________________
            691, 694  (1st Cir. 1994).  But see Oliveira, 23 F.3d at 648-
                                        ___ ___ ________
            49 (maintaining that the two standards are distinct).  In any
            event,  we draw on the cases decided in the liability context
            for  guidance in  deciding  the qualified  immunity question.
            See, e.g., Graham v. Connor, 490 U.S. 386, 397 (1989).
            ___  ____  ______    ______

                                         -9-
                                          9















            "clearly"  established  law  at   the  time  of  the  alleged

            violation is inappropriate:

                      [T]he  right the  official is  alleged to
                      have  violated  must  have been  "clearly
                      established"  in  a more  particularized,
                      and  hence  more  relevant, sense:    The
                      contours   of   the    right   must    be
                      sufficiently  clear   that  a  reasonable
                      official would understand that what he is
                      doing violates that right.

            Anderson, 483  U.S. at 640.   Without such a  rule, the Court
            ________

            said, "[a] passably clever plaintiff would always be able  to

            identify  an  abstract  clearly established  right  that  the

            defendant could be alleged to have violated," id. at 640 n.2,
                                                          ___

            and so defeat summary judgment.3

                      The Court  has  also warned  against requiring  too

            great  a specificity  in the  "clearly established  law" such

            that the officer would  be granted qualified immunity "unless

            the  very  action  in  question ha[d]  previously  been  held

            unlawful."   Anderson, 483 U.S.  at 640.   An earlier warning
                         ________

            against  exactly  such  a  misapplication  of  the  qualified

            immunity doctrine was given in  Mitchell v. Forsyth, 472 U.S.
                                            ________    _______

            511 (1985), a  warning cited  in Anderson.   In Mitchell  the
                                             ________       ________

            court noted:

                      We do  not  intend  to  suggest  that  an
                      official is always immune  from liability

                                
            ____________________

            3.  Similarly, we note, a  "passably clever" defendant  might
            characterize the right involved in such broad terms as to say
            such  a  broad articulation  could  not  permit a  reasonable
            official  to understand that  what he is  doing violates that
            right and so the right was not "clearly established."

                                         -10-
                                          10















                      or suit for  a warrantless search  merely
                      because the warrant requirement has never
                      explicitly been held to apply to a search
                      conducted in identical circumstances.

            472 U.S. at  535 n.12.   The proper  characterization of  the

            "clearly established law" is implicated in this case.  

            The Shooting
            ____________

                      Plaintiff asserts two Fourth Amendment  theories as

            to  the shooting,  both independent  of her  Fourth Amendment

            claim  as  to  the  warrant.    Plaintiff  argues  that "[n]o

            reasonable  law  enforcement  agent  could  believe  that  in

            executing  a search warrant the law allowed him to surprise a

            suspect on a  dead run, in plain  clothes, with gun drawn  at

            close range,  and not  provide that individual  with adequate

            and  reasonable  notice  of   his  identity  and  his  lawful

            purpose."  Plaintiff  also argues  that the  facts of  record

            "are sufficient to raise  a material and genuine issue  as to

            whether  [Detective] Gunter  had a  reasonable belief  he was

            acting  in self defense."  She claims that the "resolution of

            these issues is an inherently  fact-based matter for the jury

            as  no other  officers  observed the  alleged conduct  of St.

            Hilaire in reaching for the weapon."  The latter claim is, we

            believe,  without merit.   The first  claim, that  the police

            were  required   to  identify  themselves  and  their  lawful

            purpose, however, raises difficult issues.

                      Plaintiff argues that summary judgment was improper

            because  there were material facts in dispute.  We agree that


                                         -11-
                                          11















            there is, on the record, a dispute of fact as  to whether the

            police did  identify themselves.  St.  Hilaire's first words,

            as he sat with a bullet hole in his neck, were to ask why the

            police  had  not identified  themselves.    He repeated  this

            question at the  hospital and  told his nurses  and his  wife

            that the  police  did  not  identify themselves.    While  an

            inference  can be drawn from  the deposition testimony of the

            officers   that   St. Hilaire  simply   did   not   hear  the

            identifications  given  by   the  police,  another  plausible

            inference could be  drawn that  the police  did not  identify

            themselves.   A  passing motorist  who  heard the  police say

            "freeze" did  not hear the word  "police" mentioned, although

            the  police  testimony is  that  the two  words  were uttered

            together.   Where  "inferences to  be drawn  from the  web of

            facts are disputed and unclear -- and are likely to depend on

            credibility  judgments," there is a  dispute of fact.  Prokey
                                                                   ______

            v. Watkins, 942 F.2d 67, 73 (1st Cir. 1991).
               _______

                      The existence of a factual dispute does not end the

            inquiry.  In summary  judgment terms, the disputed  fact must

            be  material.  Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
                           ________    ___________________

            248  (1986).  In the context of a qualified immunity defense,

            the  legal  questions  for  the  court  to  decide  may  well

            determine if  the dispute  is material.   Here,  the district

            court acknowledged that the plaintiff's argument raised "more

            troubling  questions."    The  court  also  assumed,  without



                                         -12-
                                          12















            deciding, that plaintiff had raised a genuine factual dispute

            as  to  whether  defendants  identified  themselves  as  they

            approached St.  Hilaire's vehicle.   St.  Hilaire v.  City of
                                                 ____________     _______

            Laconia, 885 F. Supp. 349, 357 n.2 (D.N.H. 1995).
            _______

                      The court nonetheless entered summary  judgment for

            defendants, on  the grounds  that defendants did  not violate

            any  "clearly  established"  law.     It  reasoned  that  St.

            Hilaire's Fourth  Amendment rights  did not attach  until the

            seizure  actually occurred and  that the shooting constituted

            the seizure.   Id. at 357  n.3.  It  reasoned that the  issue
                           ___

            before  it  was  whether  there  was  a  clearly  established

            obligation  under  the  Fourth   Amendment  for  police   not

            unreasonably to create circumstances  where the use of deadly

            force  becomes   necessary  and  if  so,   whether  any  such

            obligation was  "clearly established."   Id. at  356-57.   It
                                                     ___

            said there was no such clearly established obligation.  

                      The  district  court  analysis  was   reasoned  and

            grounded  on  law from  other Circuits.    See id.  at 357-58
                                                       ___ ___

            (citing Drewitt v. Pratt,  999 F.2d 774, 780 (4th  Cir. 1993)
                    _______    _____

            (look only to whether it was reasonable for police officer to

            shoot in the  circumstances as they existed  at that moment);

            Cole  v. Bone,  993  F.2d 1328,  1333  (8th Cir.  1993)  ("we
            ____     ____

            scrutinize only the seizure itself, not the events leading to

            the seizure");  Carter v. Buscher,  973 F.2d 1328,  1332 (7th
                            ______    _______

            Cir. 1992)  ("[P]re-seizure conduct is not  subject to Fourth



                                         -13-
                                          13















            Amendment scrutiny.")).  We  believe that reasoning to  be in

            error and to  create some of the difficulties  warned against

            in  Mitchell and  Anderson.   We  nonetheless  affirm on  the
                ________      ________

            ground that  the factual dispute as to  whether the defendant

            officers identified themselves as they approached St. Hilaire

            is immaterial as a matter of law.

                      We  first  reject  defendants'  analysis  that  the

            police   officers'    actions    need   be    examined    for

            "reasonableness"  under  the  Fourth  Amendment  only at  the

            moment of the shooting.  We believe that view is inconsistent

            with Supreme  Court  decisions  and  with  the  law  of  this

            Circuit.   The Supreme Court in  Brower v. Inyo, 489 U.S. 593
                                             ______    ____

            (1989), held that once it has been established that a seizure

            has occurred,  the court  should examine  the actions  of the

            government  officials leading up to the  seizure.4  The Court

            held that petitioners' decedent  was "seized" when he crashed

            into a police roadblock  set up in order to stop  his flight.

                                
            ____________________

            4.  The district court's citation of California v. Hodari D.,
                                                 __________    _________
            499  U.S. 621 (1991), is inapposite.  The question before the
            Supreme  Court  in  Hodari  was whether  the  defendant,  who
                                ______
            discarded  cocaine while  being pursued  by police,  had been
            "seized" at the time he dropped the drugs, for the purpose of
            determining whether the  drugs were the  fruit of an  illegal
            seizure.  Id. at 623.  Thus, the question was not whether the
                      ___
            seizure was reasonable, which  requires an examination of the
                        __________
            totality of  the circumstances, but whether there  had been a
            seizure  at all.   We  do not  read this  case  as forbidding
            courts from examining circumstances  leading up to a seizure,
            once  it is established  that there has  been a  seizure.  We
            ________________________________________________________
            understand Hodari to hold that the Fourth Amendment  does not
                       ______
            come into play unless  there has been a seizure,  not that it
                           ______
            does not come into play until there has been a seizure.
                                    _____

                                         -14-
                                          14















            "We think it enough for a seizure that a person be stopped by

            the very instrumentality  set in  motion or put  in place  in

            order  to achieve  that  result."   Id. at  599.   The  Court
                                                ___

            remanded the cause for a determination of whether the seizure

            was "unreasonable"  in light of petitioners' allegations that

            the  roadblock had  been set  up in  such a  manner as  to be

            likely  to  kill  the decedent.    Id.;  see  also Plakas  v.
                                               ___   ___  ____ ______

            Drinski,  19 F.3d 1143, 1150  (7th Cir.) ("[W]e  carve up the
            _______

            incident into segments and judge each on its own terms to see

            if the officer was reasonable at each stage."), cert. denied,
                                                            _____ ______

            115 S. Ct. 81 (1994).

                      This   court  has   recently  followed   a  similar

            approach.    In Hegarty,  this  court examined  each  of  the
                            _______

            actions leading up  to the  mortal wounding of  a woman  whom

            police  officers  were attempting  to  arrest  for recklessly

            endangering the  safety  of  four campers.    53  F.3d  1367.

            Instead  of focusing solely  on whether the  officer who shot

            Hegarty  was acting  in  self-defense at  the  moment of  the

            shooting (Hegarty had picked  up a rifle and raised it in the

            direction of the  officers and ignored their demands  to drop

            it), the court examined all of the actions of the officers to

            determine whether there was  probable cause to arrest Hegarty

            and  whether  there were  exigent  circumstances  to allow  a

            forcible,  warrantless, nighttime  entry  into her  dwelling.

            Id.  at 1374-79.  Similarly,  in Roy v.  Lewiston, this court
            ___                              ___     ________



                                         -15-
                                          15















            examined all of the surrounding  circumstances in determining

            whether  the police  acted reasonably:    "Roy was  armed; he

            apparently  tried to  kick  and strike  at  the officers;  he

            disobeyed repeated instructions to  put down the weapons; and

            the officers had other reasons . . . for thinking him capable

            of assault."  42 F.3d at 695.

                      This focus on  the moment of  the shooting led  the

            district court to conclude that  the issue was whether  there

            was any  clearly established constitutional duty  on the part

            of police  to avoid  creating situations which  increased the

            risk  of use of deadly  force.  The  district court concluded

            there was no such  generalized duty.  Cf. Carter  v. Buscher,
                                                  ___ ______     _______

            973  F.2d 1328,  1331-33 (7th Cir.  1992) (reading  Brower to
                                                                ______

            mean that courts should consider reasonableness of seizure in

            totality of circumstances, but should not consider whether it

            was reasonable  for the police to  create the circumstances).

            But  at the  core  of  plaintiff's  case  is  not  the  broad

            contention that the police have a duty to reduce the risk  of

            violence.  Such a  contention itself creates a risk  that the

            "duty"  is so broadly defined that it gives inadequate notice

            of  what would violate the  duty and thus  would fall back on

            whether those specific  facts have occurred  in the case  law

            before.   Plaintiff instead  makes a narrower,  more specific

            claim.  





                                         -16-
                                          16















                      Plaintiff  contends  that  in  executing  a  search

            warrant,   the   Fourth   Amendment's   prohibition   against

            "unreasonable  searches"  requires  the  police  to  identify

            themselves as  police and state their  purpose.5  Plaintiff's

            theory  is  that  if   the  police  had  properly  identified

            themselves, St.  Hilaire would  have known they  were police,

            would not have himself felt endangered when he saw a stranger

            approach  with a gun in his hand,  and that St. Hilaire would

            not have made a movement in the direction of his gun.   It is

            that  movement  which led  Detective Gunter  to fire  his own

            weapon.  There is  some additional support in the  record for

            plaintiff's theory.  St. Hilaire and the police had had prior

            dealings.  In each, the police identified themselves and  St.

            Hilaire did not threaten them.

                      It  falls to  the court  to determine  whether this

            right allegedly  violated  was "clearly  established" at  the

            time of the incident.  "Whether an asserted federal right was

            clearly established  at a particular  time, so that  a public


                                
            ____________________

            5.  Plaintiff  relies  on Tennessee  v.  Garner,  471 U.S.  1
                                      _________      ______
            (1985), which held that the Fourth Amendment prohibits use of
            deadly  force to prevent the  escape of an apparently unarmed
            suspected felon unless it is  necessary to prevent the escape
            and  the  officer  has  probable cause  to  believe  that the
            suspect  poses  a  significant  threat of  death  or  serious
            physical injury  to the  officer or  others.   Garner  indeed
                                                           ______
            establishes that "apprehension by the  use of deadly force is
            a seizure  subject to  the reasonableness requirement  of the
            Fourth Amendment."  Id. at 6.  But Garner, while helpful, did
                                ___            ______
            not resolve immunity issues  in that case, nor does  it do so
            here.

                                         -17-
                                          17















            official who  allegedly violated  the right has  no qualified

            immunity  from suit, presents a question of law."  Elder, 114
                                                               _____

            S. Ct. at 1022.

                      Plaintiff  relies on  the  Supreme  Court's  recent

            decision in Wilson v. Arkansas, 115 S. Ct. 1914 (1995), which
                        ______    ________

            held  that the  reasonableness  of the  search of  a dwelling

            depended  in   part  on  whether  law   enforcement  officers

            announced  their  presence and  authority prior  to entering,

            thus incorporating  the common law "knock  and announce" rule

            into the Fourth Amendment.

                      Assuming arguendo  that  the Wilson  rule  supports
                               ________            ______

            plaintiff's  case,6  plaintiff's  argument succeeds  only  if

            Wilson merely  restated what was already  clearly established
            ______

            constitutional law at the time of  the shooting in 1990.  See
                                                                      ___

            Davis v.  Scherer, 468 U.S. 183  (1984) (constitutional right
            _____     _______

            to  a pretermination or  prompt post-termination  hearing was


                                
            ____________________

            6.  Fourth  Amendment  law  in  some  contexts  recognizes  a
            distinction  between a person's home and a person's car.  For
            example,  the  Fourth Amendment  permits  a slightly  broader
            search  pursuant to the arrest  of the occupant  of a vehicle
            and some warrantless searches  of vehicles are permitted even
            if  there are not  emergency circumstances.   See generally 1
                                                          ___ _________
            Wayne  R. LaFave &amp; Jerold H. Israel, Criminal Procedure   3.7
                                                 __________________
            (1984).   One  explanation  for the  different protection  of
            items  found  in  vehicles  is  that  "[o]ne   has  a  lesser
            expectation  of  privacy  in  a  motor  vehicle  because  its
            function  is transportation  and  it seldom  serves as  one's
            residence or  as the repository of  personal effects . .  . .
            It travels public thoroughfares  where both its occupants and
            its  contents are in plain view."  United States v. Chadwick,
                                               _____________    ________
            433 U.S. 1, 12  (1977) (quoting Cardwell v. Lewis,   417 U.S.
                                            ________    _____
            583, 590 (1974)).

                                         -18-
                                          18















            not  yet  clearly established  at  time of  discharge  and it

            availed plaintiff not that defendant state officials violated

            state  administrative  regulations  requiring   such  hearing

            because   1983 protects constitutional rights); Elder, 114 S.
                                                            _____

            Ct. at 1023  ("[T]he clearly established right  [must] be [a]

            federal  right."); Harlow, 457 U.S.  at 818.   Thus, in order
                               ______

            for  the plaintiff  to prevail,  the notice  requirement must

            have   been   clearly   rooted   in  the   Fourth   Amendment

            jurisprudence in 1990.  Plaintiff's argument fails because at

            the  time  of the  shooting  the notice  requirement  was not

            clearly of constitutional dimension.

                      The  Court  in  Wilson  noted that  it  had  "never
                                      ______

            squarely   held  that   this  [common   law]  principle   [of

            announcement]  is an  element of  the reasonableness  inquiry

            under  the  Fourth Amendment."    115 S.  Ct.  at 1918.   The

            Supreme Court granted certiorari in Wilson precisely in order
                                                ______

            to  resolve a conflict among  state courts as  to whether the

            common-law   notice   requirement   was   a   part   of   the

            reasonableness inquiry  under the  Fourth Amendment.   Id. at
                                                                   ___

            1916.   The Court noted  that in California  and Illinois, it

            had  been so  held, but  in Massachusetts,  it had  been held

            merely a rule of  common law, not constitutionally compelled.

            Id. at 1916 n.1.  The highest court in New Hampshire had held
            ___

            only  that there was a common law rule that "police officers,

            before forcibly entering  a dwelling, should  knock, identify



                                         -19-
                                          19















            themselves and their purpose,  and demand admittance."  State
                                                                    _____

            v. Jones,  127 N.H. 515, 503 A.2d 802, 805 (1985).  The court
               _____

            in Jones further held that this  rule "ha[d] its basis in the
               _____

            common law"  but did  not  foreclose the  possibility that  a

            failure  to  knock and  announce may  be  so flagrant  that a

            subsequent  entry  could  violate  the  state  constitution's

            prohibition against unreasonable searches  and seizures.  Id.
                                                                      ___

            at 805-06.  The issue of whether the search at issue violated

            the  federal constitution  was not  before the  New Hampshire

            court.  Id. at 805.  Cf. Prokey, 942  F.2d at 72 n.5 (looking
                    ___          ___ ______

            to  Maine law  definition of  probable  cause as  to immunity

            question).

                      The First Circuit has  not decided whether a search

            in violation  of the "knock  and announce" rule  violated the

            Fourth   Amendment,  although   it  has   considered  alleged

            violations  of  the  federal  "knock  and  announce"  statute

            applicable  to federal   officers,  18 U.S.C.    3109.   See,
                                                                     ___

            e.g.,  United States v. One Parcel of Real Property, 873 F.2d
            ____   _____________    ___________________________

            7, 9 (1st Cir.),  cert. denied sub nom. Latraverse  v. United
                              _____ ______ ___ ____ __________     ______

            States,  493 U.S. 891  (1989); United States  v. DeLutis, 722
            ______                         _____________     _______

            F.2d  902, 908-09 (1st Cir. 1983).  Thus, the established law

            at the time of  the shooting was that the  notice requirement

            was  embodied in  New Hampshire's  common law.   It  was not,

            though,   clearly   established   in   this   Circuit   as  a

            constitutional requirement until Wilson.  In a   1983 action,
                                             ______



                                         -20-
                                          20















            plaintiffs must show  the constitutional  right involved  was
                                      ______________

            clearly established.   Davis, 468 U.S. at 194.   Accordingly,
                                   _____

            under  Harlow  the  defendants  are  entitled  to   qualified
                   ______

            immunity on this theory.

                      As  to  the  plaintiff's  theory  that  there  were

            disputed  facts   as  to  whether  Detective   Gunter  had  a

            reasonable belief he  was acting in self-defense when he shot

            St.  Hilaire,  we,  like  the  district  court, see  no  such

            dispute.  See 885 F. Supp. at 356-57.  The judgment Detective
                      ___

            Gunter  made in  that  split second  was  at the  very  least

            reasonable, and  it is not the  role of the court  to second-

            guess the decision.  See, e.g., Hegarty, 53 F.3d at 1377; see
                                 ___  ____  _______                   ___

            also Hunter, 502 U.S. at 229; Anderson, 483 U.S. at 641.
            ____ ______                   ________

            The Search Warrant.
            ___________________

                      Whether  or not  there was  probable cause  for the

            warrant, defendants are entitled to qualified immunity unless

            "the warrant application is so lacking in indicia of probable

            cause  as   to  render  official  belief   in  its  existence

            unreasonable."    Malley v.  Briggs,  475  U.S. 335,  344-345
                              ______     ______

            (1986).

                      The facts presented in  the warrant application are

            not disputed.  We are thus  left with the question of whether

            defendants are entitled to qualified  immunity as a matter of

            law.  Fed. R. Civ. P. 56(c).  Recognizing that the police may

            not  obtain  immunity by  relying  on  the  judgment  of  the



                                         -21-
                                          21















            judicial  officer  issuing  the  warrant  under  Malley,  the
                                                             ______

            defendants  argue  that  there  were  reasonable  indicia  of

            probable cause and  their belief they had  probable cause can

            not  be called  unreasonable.    That  is, indeed,  what  the

            undisputed record  demonstrates.   A  confidential  informant

            told Deputy Dupuis that St. Hilaire was selling  cocaine from

            Laconia Auto Wrecking,  which was owned  and operated by  St.

            Hilaire.  Dupuis consulted with detectives at the Laconia and

            Belmont  Police   Departments   who  had   worked  with   the

            confidential informant on prior occasions.  These  detectives

            told Dupuis that the  informant had twice previously provided

            information  that  led  to  seizures of  contraband  and  the

            arrests and  convictions of  several persons.   The informant

            then met with Dupuis and Detective  Gunter in order to make a

            controlled purchase at Laconia  Auto Wrecking.  The substance

            purchased tested  positive for cocaine.   A second controlled

            purchase  was  made;  the  substance  obtained  also   tested

            positive for  cocaine.  The  informant also told  Dupuis that

            St.  Hilaire  was going  to New  York  to "score"  a  load of

            cocaine.  Airline records confirmed that St. Hilaire had made

            a reservation to fly to New  York around the same time as the

            informant's report.

                      Summary  judgment in  favor of  the municipalities,

            the City  of Laconia, the Town  of Belmont and  the County of

            Belknap,  is affirmed because there  is no evidence, even had



                                         -22-
                                          22















            plaintiff shown a deprivation of St. Hilaire's constitutional

            rights,  that it  was as  a result  of official  action taken

            pursuant to a  "custom or  usage" of the  municipality.   See
                                                                      ___

            Monell v. New York City Dep't. of Social Servs. 436 U.S. 658,
            ______    _____________________________________

            691 (1978).   Other than  this single incident,  there is  no

            evidence even proffered to show such a municipal  "custom and

            usage."     Evidence   of  a   single  incident   is  usually

            insufficient to  establish  a "custom  or usage."   Mahan  v.
                                                                _____

            Plymouth County  House of Corrections, 64 F.3d 14, 16-17 (1st
            _____________________________________

            Cir. 1995).

            Municipal Defendants
            ____________________

                      The   claims   against  the   municipal  defendants

            necessarily fail because we find there was no deprivation  of

            St.  Hilaire's  clearly  established  rights  and  there  was

            reasonable  ground  to  believe  the   warrant  supported  by

            probable cause.

                      The judgment of the district court is affirmed.  No
                      _______________________________________________  __

            costs are awarded.
            __________________

















                                         -23-
                                          23









